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  7    Counsel for Prospective Intervenor Plaintiff

  8                                  UNITED STATES DISTRICT COURT

  9                                 CENTRAL DISTRICT OF CALIFORNIA

  10   U.S. EQUAL EMPLOYMENT                              Case No. 2:22-cv-06039-PA-RAO
       OPPORTUNITY COMMISSION,
  11
                      Plaintiff,                          [PROPOSED] ORDER GRANTING
  12                                                      MOTION FOR LEAVE TO INTERVENE
                                                          AS PLAINTIFFS
  13   ANONYMOUS PLAINTIFFS ONE
       THROUGH FOUR,
  14                                                      Date: January 9, 2022
                     Prospective Intervenor Plaintiffs,   Time: 1:30 PM
  15                                                      Crtrm: 9A
       v.
  16                                                      Honorable District Judge Percy Anderson

  17   JUSTIN VINEYARDS & WINERY, LLC;
       THE WONDERFUL COMPANY LLC, and
  18   DOES 1-10, inclusive,

  19
                      Defendants.
  20
  21
  22
  23
  24
  25
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  27
  28
  29
       [PROPOSED] ORDER GRANTING LEAVE TO INTERVENE                     Case No. 2:22-cv-06039-PA-RAO
  30
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   1

   2
               1. The motion of Prospective Intervenor Plaintiffs, ANONYMOUS INTERVENOR
   3
       PLAINTIFFS ONE through FOUR, requesting an order granting leave to intervene as Plaintiffs
   4
       and to file a complaint in intervention came for hearing before this Court on January 9, 2022.
   5
       After consideration of the briefs and arguments of counsel, and all matters presented to the Court,
   6
               IT IS HEREBY ORDERED that Intervenors- Plaintiffs’ Motion for Leave to Intervene as
   7
       Plaintiffs is GRANTED
   8
               Plaintiffs Intervenors may file the complaint attached hereto as Exhibit “1” to the
   9
       Declaration of Tania Fonseca in Support of Motion for Leave to Intervene.
  10
               IT IS SO ORDERED.
  11

  12
       Date:
  13

  14                                            By: _______________________________________

  15                                                  HONORABLE JUDGE PERCY ANDERSON
  16                                                  UNITED STATES DISTRICT COURT JUDGE

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  29                                                -2-
       [PROPOSED] ORDER GRANTING LEAVE TO INTERVENE                        Case No. 2:22-cv-06039-PA-RAO
  30
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                    EXHIBIT 1
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   7   Counsel for Prospective Intervenor Plaintiffs

   8                                  UNITED STATES DISTRICT COURT

   9                                CENTRAL DISTRICT OF CALIFORNIA

  10   U.S. EQUAL EMPLOYMENT                               Case No. 2:22-cv-06039-PA-RAO
       OPPORTUNITY COMMISSION,
  11
                      Plaintiff,                           COMPLAINT IN INTERVENTION
  12
                                                             1. Unlawful Employment Discrimination
  13   ANONYMOUS PLAINTIFFS ONE                                 Based on Sex (Title VII of 1964 Civil
       THROUGH FOUR,                                            Rights Act)
  14                                                         2. Unlawful Employment Discrimination
                      Prospective Intervenor Plaintiffs         Based on Sex (Cal. Govt. Code 12940)
  15                                                         3. Hostile Work Environment- Sexual
       v.                                                       Harassment (Title VII)
  16                                                         4. Hostile Work Environment- Sexual
                                                                Harassment (Cal Govt. Code 12940)
  17   JUSTIN VINEYARDS & WINERY, LLC;                       5. Relief from Retaliation (Title VII)
       THE WONDERFUL COMPANY LLC, and                        6. Relief from Unlawful Retaliation (Cal.
  18   DOES 1-10, inclusive,                                    Govt. Code 12940(H))
                                                             7. Failure to Prevent Discrimination and
  19                                                            Harassment (Cal. Govt. Code
                      Defendants.                               §12940(k))
  20
                                                           DEMAND FOR JURY TRIAL
  21
  22
  23
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  26
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                                                       1
       COMPLAINT IN INTERVENTION                                       Case No. 2:22-cv-06039-PA-RAO
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   1
   2                                      NATURE OF ACTION
   3          1.      This is an action under Title VII of the Civil Rights Act of 1964, the California Fair
   4   Employment and Housing Act, California Government Code §§ 12940 et seq. (“FEHA”) and other
   5   California statutory and common law theories to correct unlawful employment practices on the basis
   6   of sex, and to provide appropriate relief to PLAINTIFFS, who were adversely affected by such
   7   practices. This action is brought by current and former employees (collectively “PLAINTIFF
   8   INTERVENORS”) against DEFENDANT Justin Vineyards & Winery, LLC (“JV”) and The
   9   Wonderful     Company,       LLC     (“TWC”)       (collectively   “DEFENDANTS”).        PLAINTIFF
  10   INTERVENORS were subjected to sexual harassment, including a hostile environment based on their
  11   sex (female), constructive discharge, and/or retaliation for opposing unlawful employment practices
  12   during their employment with DEFENDANTS.
  13
                                      JURISDICTION AND VENUE
  14          2.      PLAINTIFF INTERVENORS’ claims arise under Title VII of the Civil Rights Act of
  15   1964, 42 U.S.C. §§2000(e), et seq (“Title VII”). This Court has jurisdiction over this matter pursuant
  16   to 28 U.S.C. §§1331, 1337, and 1343(a)(4), and any other applicable provision of Federal Law. This
  17   Court has supplemental jurisdiction over PLAINTIFF INTERVENORS’ claims brought under the
  18   California Fair Employment and Housing Act, §§12940 et seq. and other state statutory and common
  19   law remedies pursuant to 28 U.S.C. §1367. Injunctive and declaratory relief, damages and other
  20   appropriate legal and equitable relief are sought pursuant to 42 U.S.C. §2000e(f) and (g), as amended,
  21   and applicable provisions of California State law including, but not limited to FEHA. Jurisdiction in
  22   this Court is proper because the employment practices that PLAINTIFF INTERVENORS allege to
  23   be unlawful were and are now being committed in California within the jurisdiction of the United
  24   States District Court for the Central District of California.
  25
                                    INTRADISTRICT ASSIGNMENT
  26          3.      This case is properly assigned to the Western Division of the Central District of
  27   California because the action arose from occurrences in Santa Barbara County.
  28

                                                           2
       COMPLAINT IN INTERVENTION                                            Case No. 2:22-cv-06039-PA-RAO
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   1                                              PARTIES
   2          4.      PLAINTIFF, the U.S Equal Employment Opportunity Commission (“EEOC” or

   3   "Commission"), is the agency of the United States of America charged with the administration,

   4   interpretation and enforcement of Title VII, and is expressly authorized to bring this action by Section

   5   706(f)(l) and (3) and 707 of Title VII, 42 U.S.C. §2000e-5(f)(l) and (3) and §2000e-6(e).

   6          5.      PLAINTIFF INTERVENORS are pled as “DOE Plaintiffs” in this action in

   7   conformity with the Ninth Circuit precedent Does I thru XXIII v. Advanced Textile Corp., 214 F.3d

   8   1058 (9th Cir. 2000) to preserve their anonymity at this stage of the judicial proceeding. Naming the

   9   Plaintiffs as “DOES” is appropriate at this stage in the proceeding because their need for anonymity

  10   outweighs any prejudice to the opposing parties as well as the public’s interest in knowing any party’s

  11   identity. In particular, the Plaintiffs should be identified here only as DOEs because: (1) there is

  12   significant and well-documented economic threat to the livelihood of these low-wage workers, who

  13   have no economic recourse other than to work in this low-wage industry in this geographical area,

  14   (2) the PLAINTIFF INTERVENORS are particularly vulnerable due to their socio-economic status

  15   and because the economic coercion that historically has been applied in this industry would

  16   effectively threaten their ability to survive and provide for their families, (3) the immigration status

  17   of agricultural workers and their family members historically has been used to curtail these workers’

  18   fight for the protections of the labor laws and other civil rights, (4) the nature of the allegations make

  19   revelation of the identities of the anonymous PLAINTIFF INTERVENORS highly prejudicial to

  20   them in relations with other and would create needless additional harm and prejudice.

  21   DEFENDANTS do not require knowledge of the identities of the “DOE Plaintiffs” at this stage of

  22   the proceeding. Any future need for these names can be resolved by the District Court through

  23   pretrial management procedures, including the issuance of protective orders limiting disclosure of a

  24   party’s name to the greatest extent possible without prejudicing the opposing party’s ability to litigate

  25   the case. Nonparties do not require the knowledge of the identities of “DOE Plaintiffs” at this stage

  26   of the proceedings, if ever. As noted by the Ninth Circuit, “it may never be necessary, however, to

  27   disclose the anonymous parties’ identities to nonparties to the suit.” Advanced Textile Corp., supra,

  28   214 F.3d at 1058.

                                                           3
       COMPLAINT IN INTERVENTION                                              Case No. 2:22-cv-06039-PA-RAO
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   1             6.    Anonymous PLAINTIFF INTERVENOR ONE is a California resident. Anonymous
   2   PLAINTIFF INTERVENOR ONE is Charging Party One in the EEOC’s Complaint. At all relevant
   3   times herein, Anonymous PLAINTIFF INTERVENOR ONE has been employed by DEFENDANTS
   4   and its subsidiaries as a non-exempt employee.
   5             7.    Anonymous PLAINTIFF INTERVENOR TWO is a California resident. At all
   6   relevant times herein, Anonymous PLAINTIFF INTERVENOR TWO has been employed by
   7   DEFENDANTS and its subsidiaries as a non-exempt employee.
   8             8.    Anonymous PLAINTIFF INTERVENOR THREE is a California resident. At all
   9   relevant times herein, Anonymous PLAINTIFF INTERVENOR THREE has been employed by
  10   DEFENDANTS and its subsidiaries as a non-exempt employee.
  11             9.    Anonymous PLAINTIFF INTERVENOR FOUR is a California resident. At all
  12   relevant times herein, Anonymous PLAINTIFF INTERVENOR FOUR has been employed by
  13   DEFENDANTS and its subsidiaries as a non-exempt employee.
  14             10.   DEFENDANT JV is a Delaware limited liability company and is a subsidiary of
  15   DEFENDANT TWC. DEFENDANT JV is located in the City of Los Angeles, California, but with
  16   the majority of its operations in Paso Robles, where its vineyards and winery are located.
  17   DEFENDANT JV operates and maintains a vineyard, growing wine grapes, as well as a winery and
  18   bottling facility, a restaurant, and a hotel. During all relevant times alleged herein, DEFENDANT
  19   JV employed PLAINTIFF INTERVENORS and similarly situated persons as non-exempt employees
  20   and committed in California and in this District the acts and/or caused the violations complained of
  21   herein.
  22             11.   DEFENDANT TWC is a holding company whose subsidiaries include DEFENDANT
  23   JV and has continuously been doing business in the State of California and the County of San Luis
  24   Obispo.
  25             12.   DEFENDANTS directly and/or jointly employed PLAINTIFF INTERVENORS in
  26   each calendar year from 2015 through 2019. DEFENDANT JV has continuously employed at least
  27   101 employees. DEFENDNAT TWC has continuously employed at least 501 employees.
  28   ///

                                                        4
       COMPLAINT IN INTERVENTION                                          Case No. 2:22-cv-06039-PA-RAO
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   1          13.     At all relevant times, the DEFENDANTS has continuously been doing business in the
   2   State of California and has continuously had at least 15 employees.
   3          14.     During the period in question, DEFENDANTS violated or caused to be violated the
   4   violations described in this complaint.
   5          15.     At all relevant times, the DEFENDANTS has continuously been an employer engaged
   6   in an industry affecting commerce within the meaning of Sections 701(b) (g) and (h) of Title VII, 42
   7   U.S.C. §§2000e(b), (g) and (h).
   8          16.     All of the acts and failures to act alleged herein were duly performed by and
   9   attributable to all DEFENDANTS, each acting as a successor, agent, alter ego, employee, indirect
  10   employer, joint employer, integrated enterprise and/or under the direction and control of the others,
  11   except as specifically alleged otherwise. Said acts and failures to act were within the scope of such
  12   agency and/or employment, and each DEFENDANTS participated in, approved and/or ratified the
  13   unlawful acts and omissions by the other DEFENDANTS complained of herein. Whenever and
  14   wherever reference is made in this Complaint to any act by a DEFENDANTS or DEFENDANTS,
  15   such allegations and reference shall also be deemed to mean the acts and failures to act of each
  16   DEFENDANTS acting individually, jointly, and/or severally.
  17          17.     PLAINTIFF INTERVENORS are ignorant of the true names and capacities of each
  18   DEFENDANTS sued as DOES 1 through 10, inclusively, and therefore PLAINTIFF
  19   INTERVENORS sue said DEFENDANTS by fictitious names. PLAINTIFF INTERVENORS
  20   reserve the right to amend the complaint to name each DOE DEFENDANTS individually or
  21   collectively as they become known. PLAINTIFF INTERVENORS allege that each DOE
  22   DEFENDANTS was in some manner responsible for the acts and omissions alleged herein and
  23   PLAINTIFF INTERVENORS will amend the complaint to allege such responsibility when the same
  24   shall have been ascertained by PLAINTIFF INTERVENORS.
  25                             ADMINISTRATIVE PROCEDURES
  26          18.     Prior to the institution of this lawsuit, PLAINTIFF INTERVENOR ONE filed charges
  27   with the EEOC and DFEH alleging violations of Title VII and FEHA by DEFENDANT JV.
  28   ///

                                                        5
       COMPLAINT IN INTERVENTION                                             Case No. 2:22-cv-06039-PA-RAO
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    1           19.    The EEOC issued a Right to Sue letter to PLAINTIFF INTERVENOR ONE advising
    2   her that examination of the evidence obtained in the EEOC’s investigation supported a finding that
    3   there is reasonable cause to believe PLAINTIFF INTERVENOR ONE was sexually harassed dur to
    4   her sex (female), was retaliated agaisnt and/or constructively discharged, in violation of Title VII.
    5   PLAINTIFF INTERVENORS ONE exhausted her administrative requirements in order to bring their
    6   claims pursuant to FEHA.
    7           20.    The EEOC’s Letters of Determination finding also advised that the investigation
    8   supported a finding that a class of similarly situated individuals were subjected to unlawful
    9   employment discrimination based upon their sex, female, and harassment, in violation of Title VII.
   10   Prior to instituting this lawsuit, the EEOC attempted to eliminate the unlawful employment practices
   11   herein alleged and to effect voluntary compliance with Title VII through informal methods of
   12   conciliation, conference, and persuasion within the meaning of Title VII, 42 U.S.C. Sections 2000e-
   13   5(b) and 2000e-6. The Commission was unable to secure from DEFENDANTS a conciliation
   14   agreement acceptable to the Commission. Hence, the Commission issued to DEFENDANTS a Notice
   15   of Failure of Conciliation. All conditions precedent to the institution of this lawsuit have been
   16   fulfilled.
   17           21.    PROSPECTIVE INTERVENORS TWO through FOUR are similarly situated
   18   females who experienced similar type of sexual harassment as PROSPECTIVE INTERVENOR ONE
   19   who is the charging party in EEOC v. Justin Vineyards. As a result, PROSPECTIVE
   20   INTERVENORS TWO through FOUR are aggrieved persons and have a right to intervene pursuant
   21   to the single filing rule, also known as the “piggybacking” rule. Under the single filing rule, an
   22   aggrieved employee who fails to file a timely charge with the EEOC may still pursue a claim by
   23   intervening onto the timely EEOC charge filed by the charging Plaintiff. Arizona ex rel. Horne v.
   24   Geo Grp., Inc., F3d 1189 1201 (9th Cir. 2016).
   25   ///
   26   ///
   27   ///
   28   ///

                                                         6
        COMPLAINT IN INTERVENTION                                           Case No. 2:22-cv-06039-PA-RAO
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    1                                  FACTUAL ALLEGATIONS
    2             22.   Since at least August 2017, DEFENDANTS have engaged in unlawful employment

    3   practices in violation of §§ 703(a) and 704(a) of Title VII, 42 U.S.C. §§ 2000e-2(a), 2000e-3(a) by

    4   subjecting a class of aggrieved individuals to sexual harassment, retaliation, and/or constructive

    5   discharge. The unlawful employment practices include but are not limited to those practices identified

    6   herein.

    7             23.   Since at least August 2017, DEFENDANTS have engaged in unlawful employment

    8   practices in violation of §§ 703(a)(1) and 704(a) of Title VII, 42 U.S.C. §§ 2000e-2(a)(1) and 2000e-

    9   3(a), by subjecting a class of aggrieved employees to ongoing, unwelcome, severe, or pervasive

   10   sexual harassment, and creating and maintaining an offensive, abusive, intimidating and hostile work

   11   environment because of sex (female).

   12             24.   During their employment, PLAINTIFF INTERVENORS and a class of similarly

   13   siutated aggrieved individuals were subjected to frequent, ongoing, inappropriate, unwelcome, and

   14   offensive conduct of a sexual nature by DEFENDANTS’ male supervisors. The supervisors’ conduct

   15   included but was not limited to, unwanted sexual touching of the buttocks, waist, and breasts, rubbing

   16   of genitals on female subordinate employees, unwanted hugging and kissing, forcible kissing on the

   17   mouth, grabbing on the hands, snapping of bra straps, nibbling on the ear, biting on the shoulder,

   18   exposure of male employees’ private body parts, texting inappropriate photos, and stroking

   19   employees’ hair. The supervisors’ conduct also included, but was not limited to, frequent sexual

   20   comments, including comments about employees’ breasts and buttocks (such as commenting on an

   21   employee’s nipples or stating “I want to smack that ass,” “that ass looks great in those jeans,” or

   22   “your boobs look great in that top”), undergarments and clothing (such as discussing what bra or

   23   panties an employee might be wearing or texting an employee at 2 or 3 a.m. to ask what she was

   24   wearing), appearances (such as “you look super-hot” or calling an employee “sexy”), and desire to

   25   engage in sexual activity with employees, as well as inappropriate sexual comments and requests

   26   (such as a request to engage in a threesome and stating a desire to get a divorce to be with an

   27   employee).

   28   ///

                                                          7
        COMPLAINT IN INTERVENTION                                           Case No. 2:22-cv-06039-PA-RAO
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    1            25.   Since at least 2017, DEFENANTS knew or should have known of the hostile work
    2   environment at its worksites. The sexually charged and inappropriate actions and comments by the
    3   male supervisors were ubiquitous, open, frequent, and consistent in nature. Such behavior and
    4   comments were often within earshot or plain sight of DEFENDANTS’ other managers and
    5   supervisors.
    6            26.    PLAINTIFF INTERVENORS and members of the class of aggrieved employees
    7   complained verbally and in writing to supervisors and management about the harassment and hostile
    8   work environment they endured.
    9            27.   The harassers’ conduct was unwelcomed by the PLAINTIFF INTERVENORS and
   10   throughout their employment with DEFENDANTS.
   11            28.   The harassers’ conduct towards the PLAINTIFF INTERVENORS was severe and/or
   12   pervasive.
   13            29.   In response to the harassers’ unwelcome behavior, the PLAINTIFF INTERVENORS
   14   objected by telling the harassers to stop, moving away from them, and/or complaining about them to
   15   DEFENDANTS.
   16            30.   Notwithstanding the PLAINTIFF INTERVENORS’ objections and protests,
   17   however, the sexual harassment by the harassers continued throughout their employment with
   18   DEFENDANTS.
   19            31.   Notwithstanding the numerous complaints received, DEFENDANTS failed to take
   20   sufficient reasonable care to prevent and promptly correct the harassers’ unlawful behavior by failing
   21   to properly investigate some of the complaints, failing to interview third-party witnesses, and/or
   22   failing to take any disciplinary action against the harassers.
   23            32.   As a result, the PLAINTIFF INTERVENORS were subjected to ongoing sexual
   24   harassment, retaliation, and/or constructive discharge thereafter.
   25            33.   DEFENDANTS’ management discouraged the female employees from complaining
   26   during workplace meetings.
   27            34.   DEFENDANTS did not have effective anti-harassment policies and/or procedures in
   28   place.

                                                            8
        COMPLAINT IN INTERVENTION                                            Case No. 2:22-cv-06039-PA-RAO
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    1          35.     DEFENDANTS knew about the sexual harassment of temporary employees placed
    2   by placement staffing agencies and failed to take appropriate corrective action.
    3          36.     The effect of the practices complained of above has been to deprive the PLAINTIFF
    4   INTERVENORS of equal employment opportunities and otherwise adversely affect their status as
    5   employees because of their sex (female).
    6          37.     The effect of the practices complained of above has been to deprive the PLAINTIFF
    7   INTERVENORS of equal employment opportunities and otherwise adversely affect their status as
    8   employees because of their engagement in protected activities in opposition to unlawful employment
    9   practices.
   10          38.     The unlawful employment practices complained of above were intentional and caused
   11   the PLAINTIFF INTERVENORS to suffer emotional distress.
   12          39.     The unlawful employment practices complained of above were done with malice or
   13   with reckless indifference to the federally protected rights of the PLAINTIFF INTERVENORS.
   14                                      PLAINTIFF INTERVENOR ONE
   15          40.     PLAINTIFF INTERVENOR ONE, female, was employed by DEFENDANTS from
   16   about August 2015 to August 2019, as a cellar worker.
   17          41.     During her employment with DEFENDANTS, PLAINTIFF INTERVENOR ONE
   18   was harassed by one of DEFENDANTS’ male supervisor, which included but was not limited to
   19   yelling at her, slapping her buttocks, putting his hand around her waist while standing behind her and
   20   touching her buttocks, making fun of her grammar and accent when she spoke English, and forcibly
   21   pulling her by the arm to find Human Resources Manager Alicia Ballesteros to translate when
   22   PLAINTIFF INTERVENOR ONE spoke to him in English, although her English was not in fact
   23   difficult to understand.
   24          42.     The    harassing,    hostile   and   discriminatory   behavior   toward   PLAINTIFF
   25   INTERVENOR ONE included, but was not limited to, unwelcomed comments, mocking, yelling,
   26   intimidation, and unwanted physical touching. These acts were severe and pervasive.
   27          43.     DEFENDANTS also retaliated against PLAINTIFF INTERVENOR ONE for
   28   complaining about sexual harassment.

                                                            9
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    1          44.    PLAINTIFF INTERVENOR ONE complained to management and/or Human
    2   Resources employees, including but not limited to Human Resources Manager Alicia Ballesteros and
    3   Human Resources Director Danny Hanson about the sexual harassment that she experienced.
    4          45.    Said reports and requests were ignored by DEFENDNATS, or were responded to with
    5   indifference, and by assigning PLAINTIFF INTERVENOR ONE to less favorable working
    6   conditions, and eventually, constructively discharging her from her employment.
    7          46.    The harassment PLAINTIFF INTERVENOR ONE was subjected to was unwelcome
    8   and made her uncomfortable.
    9          47.    The harassment PLAINTIFF INTERVENOR ONE was subjected to was severe
   10   and/or pervasive.
   11          48.    Despite PLAINTIFF INTERVENOR ONE’S complaints of sexual harassment,
   12   DEFENDANTS failed to take any corrective action or preventative measures to stop the harassment.
   13          49.    In retaliation for complaining about the harassment, the harassers escalated their
   14   conduct towards PLAINTIFF INTERVENOR ONE.
   15                                 PLAINTIFF INTERVENOR TWO
   16          50.    PLAINTIFF INTERVENOR TWO, female, was employed by DEFENDANTS from
   17   about August 2017 to August 2019, as a cellar worker.
   18          51.    During her employment with DEFENDANTS, PLAINTIFF INTERVENOR TWO
   19   was harassed by a male supervisor employed by DEFENDANTS, who would attempt to discipline
   20   PLAINTIFF INTERVENOR TWO by slapping her hands. The male supervisor demanded
   21   PLAINTIFF INTERVENOR TWO extend her arms and hands forward in order to slap them with his
   22   hands as a punitive and humiliating measure following what said male supervisor perceived as a
   23   mistake from PLAINTIFF INTERVENOR TWO. When PLAINTIFF INTERVENOR TWO refused
   24   to extend her hands, the male supervisor told PLAINTIFF INTERVENOR TWO, “would you rather
   25   I slap your behind?”
   26          52.    On different occasions throughout PLAINTIFF INTERVENOR TWO’s employment
   27   with DEFENDANTS, a different male supervisor employed by DEFENDANTS made sexual and
   28   discriminatory comments to PLAINTIFF INTERVENOR TWO, which included but was not limited

                                                       10
        COMPLAINT IN INTERVENTION                                        Case No. 2:22-cv-06039-PA-RAO
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    1   to: “what color are your panties today,” and “don’t bend over there so far, bend over here closer to
    2   me,” “when you bend over I can see your panties,” “I can’t get hard because I have diabetes but with
    3   you maybe I can,” “Women are gross,” and “I’m glad I wasn’t born a women.”
    4          53.     The harassment PLAINTIFF INTERVENOR TWO was subjected to was unwelcome
    5   and made her uncomfortable.
    6          54.     The harassment PLAINTIFF INTERVENOR TWO was subjected to was severe
    7   and/or pervasive.
    8          55.     Despite PLAINTIFF INTERVENOR TWO’s complaints of sexual harassment,
    9   DEFENDANTS failed to take any corrective action or preventative measures to stop the harassment.
   10                                 PLAINTIFF INTERVENOR THREE
   11          56.     PLAINTIFF INTERVENOR THREE, female, was employed by DEFENDANTS
   12   from about August 2015 to August 2019, as a cellar worker.
   13          57.     During her employment with DEFENDANTS, PLAINTIFF INTERVENOR THREE
   14   was harassed by a male supervisor who would discipline PLAINTIFF INTERVENOR THREE by
   15   slapping her hands. Another male supervisor on different occasion would make comments to
   16   PLAINTIFF INTERVENOR THREE which included but was not limited to, “me la pelas” (a vulgar
   17   expression in Spanish translating to: “you peel it for me,” referring to peeling up the foreskin on a
   18   penis and meant to denigrate the recipient of the expression and connote superiority) or “vales verga”
   19   (a vulgar expression in Spanish meaning “you’re worth dick” meant to denigrate the recipient of the
   20   expression and connote superiority).
   21          58.     The harassment PLAINTIFF INTERVENOR THREE was subjected to was
   22   unwelcome and made her uncomfortable.
   23          59.     The harassment PLAINTIFF INTERVENOR THREE was subjected to was severe
   24   and/or pervasive.
   25          60.     Despite PLAINTIFF INTERVENOR THREE complaints of sexual harassment,
   26   DEFENDANTS failed to take any corrective action or preventative measures to stop the harassment.
   27                                  PLAINTIFF INTERVENOR FOUR
   28          61.     PLAINTIFF INTERVENOR FOUR, female, was employed by DEFENDANTS as a

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    1   cellar worker during the relevant time period.
    2          62.     During her employment with DEFENDANTS, PLAINTIFF INTERVENOR FOUR
    3   was harassed by a male supervisor who would intentionally glide his hands across PLAINTIFF
    4   INTERVENOR FOUR’S buttocks whenever he would pass from behind.
    5          63.     The harassment PLAINTIFF INTERVENOR FOUR was subjected to was unwelcome
    6   and made her uncomfortable.
    7          64.     The harassment PLAINTIFF INTERVENOR FOUR was subjected to was severe
    8   and/or pervasive.
    9          65.     Despite PLAINTIFF INTERVENOR FOUR’s complaints of sexual harassment,
   10   DEFENDANTS failed to take any corrective action or preventative measures to stop the harassment.
   11                                   STATEMENT OF CLAIMS
   12          66.     Since at least 2017, the DEFENDANTS has engaged in unlawful employment
   13   practices and in a pattern of such practices in violation of §§ 703(a) and 704(a) of Title VII, 42 U.S.C.
   14   §§ 2000e-2, the California Fair Employment and Housing Act, California Government Code
   15   §§12940 et seq. (“FEHA”) and other California statutory and common law theories by subjecting
   16   PLAINTIFF INTERVENORS ONE through FOUR, as well as other female employees, to sexual
   17   harassment, a hostile work environment, retaliation, and/or constructive discharge. The sexually
   18   harassing behavior was perpetrated by supervisors and included, but was not limited to, unwelcome
   19   touching and explicit sexual commentary. DEFENDANTS failed to exercise reasonable care to
   20   prevent and correct promptly the sexually harassing behavior.
   21          67.     DEFENDANTS exercised control over employees placed by placement staffing in the
   22   following ways, including but not limited to, directly supervising their day-to-day work, responding
   23   to complaints, and subjecting them to discipline. DEFENDANTS had control over its worksite to
   24   investigate and correct the conduct that occurred at its worksite including conduct of employees,
   25   whether it exercised that control or not.
   26          68.     The unlawful employment practices by DEFENDANTS and complained of herein
   27   were and are willful within the meaning of §706(f)(l) and (3), 706(g)(l), and 707 of Title VII, 42
   28   U.S.C., §2000e-5(f)(l) and (3), (g)(l), and 2000e-6. The unlawful employment practices complained

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    1   of herein were and are intentional and caused PLAINTIFF INTERVENORS ONE through FOUR to
    2   suffer emotional distress. The effect of the practices complained of above has been to deprive
    3   PLAINTIFFS ONE through FOUR of equal employment opportunities and otherwise adversely
    4   affect their status as employees, because of their sex.
    5          69.     The unlawful employment practices complained of above were and are done with
    6   malice or with reckless indifference to the federally protected rights of PLAINTIFF INTERVENORS
    7   ONE THROUGH FOUR, as well as other female employees.
    8                                 FIRST CLAIM FOR RELIEF:
    9   UNLAWFUL EMPLOYMENT DISCRIMINATION BASED ON SEX (TITLE VII, 42
                            U.S.C. §2000e-2(a)(l))
   10
               70.     PLAINTIFF INTERVENORS hereby incorporate by reference each and every
   11
        allegation contained in the paragraphs presented in this Complaint as though fully set forth herein.
   12
               71.     DEFENDANTS unlawfully discriminated against PLAINTIFF INTERVENORS
   13
        based on their sex in violation of Title VII of the Civil Rights Act of 1964,42 U.S.C. § 2000e.
   14
               72.     DEFENDANTS treated PLAINTIFF INTERVENORS less favorably than similarly
   15
        situated male employees, subjecting them to discriminatory terms and conditions of their employment
   16
        in violation of Title VII of the Civil Rights Act of 1964, as amended, including, but not limited to:
   17
        unwelcome sexual advances, unwelcome sexual touching, degrading comments, insults and
   18
        degrading and humiliating conduct and/or failed to take steps reasonably calculated to end the sexual
   19
        harassment of and discrimination against PLAINTIFF INTERVENORS as described above.
   20
               73.     DEFENDANTS’S acts of discrimination against PLAINTIFF INTERVENORS on
   21
        the basis of sex were wanton, willful and intentional, and were committed with malicious and reckless
   22
        disregard of the rights and sensibilities of the PLAINTIFF INTERVENORS.
   23
               74.     As a direct and proximate result of the aforesaid discrimination based on PLAINTIFF
   24
        INTERVENORS’ sex, PLAINTIFF INTERVENORS have sustained a loss of earnings and other
   25
        benefits. They also have suffered physical injuries and severe emotional distress manifested by
   26
        feelings of humiliation, embarrassment, anxiety, nervousness and other symptoms of stress.
   27
               75.     WHEREFORE, PLAINTIFF INTERVENORS request relief as hereinafter provided.
   28

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    1                               SECOND CLAIM FOR RELIEF:
    2           UNLAWFUL EMPLOYMENT DISCRIMINATION BASED ON SEX
                     (CALIFORNIA GOVERNMENT CODE §12940(a))
    3
               76.     PLAINTIFF INTERVENOR TWO through FOUR hereby incorporate by reference
    4
        each and every allegation contained above of this complaint as though fully set forth herein.
    5
               77.     At all times material hereto, DEFENDANTS owed PLAINTIFF INTERVENORS a
    6
        duty not to discriminate against them in the terms and conditions of their employment on the basis of
    7
        their sex as mandated by the Fair Employment and Housing Act, Government Code Section 12940(a).
    8
               78.     In violation of the aforesaid duty, DEFENDANTS treated PLAINTIFF
    9
        INTERVENORS less favorably than similarly situated male employees, subjecting them to
   10
        discrimination in working conditions, benefits, and in other terms and conditions of their employment
   11
        including, but not limited to: reduction in working hours and conditions of employment, unwelcome
   12
        sexual advances, unwelcome sexual touching, degrading comments, insults and degrading and
   13
        humiliating conduct and/or failed to take steps reasonably calculated to end the sexual harassment of
   14
        and discrimination against PLAINTIFF INTERVENORS as described above.
   15
               79.     DEFENDANTS’S decisions to take the adverse actions against PLAINTIFF
   16
        INTERVENORS were wanton, willful and intentional, and were committed with malicious and
   17
        reckless disregard for the rights and sensibilities of PLAINTIFF INTERVENORS.
   18
               80.     As a direct and proximate result of the aforesaid discrimination based on sex,
   19
        PLAINTIFF INTERVENORS have sustained harm including severe emotional stress and the loss of
   20
        compensation, including but not limited to, wages and other benefits that they otherwise would have
   21
        received.
   22
               81.     DEFENDANTS, acting individually and/or by and through their managing agents,
   23
        officers or directors, committed the acts herein alleged maliciously, fraudulently, and oppressively,
   24
        with the wrongful intention of injuring PLAINTIFF INTERVENORS, and acted with an improper
   25
        and evil motive amounting to malice, and in conscious disregard of PLAINTIFF INTERVENORS’
   26
        rights. Accordingly, PLAINTIFF INTERVENORS are entitled to recover punitive damages from
   27
        DEFENDANTS in an amount according to proof.
   28

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    1          82.     PLAINTIFF INTERVENORS are entitled to recover attorneys' fees under
    2   Government Code section 12940, et sea. or any other law providing for recovery of attorneys' fees.
    3          83.     WHEREFORE, PLAINTIFF INTERVENORS request relief as hereinafter provided.
    4                                 THIRD CLAIM FOR RELIEF:
    5      HOSTILE ENVIRONMENT SEXUAL HARASSMENT (TITLE VII, 42 U.S.C. §
                                  2000e-2(a)(l))
    6
    7          84.     PLAINTIFF INTERVENORS hereby incorporate by reference each and every
    8   allegation stated above as though fully set forth herein.
    9          85.     This action is brought under Title VII of the Civil Rights Act of 1964, as amended, 42
   10   U.S.C.A. § 2000 et seq. PLAINTIFF INTERVENORS are women and as such are members of a
   11   group protected under TITLE VII from harassment – hostile work environment on the basis of sex.
   12          86.     DEFENDANTS violated PLAINTIFF INTERVENORS' rights under Title VII by
   13   subjecting PLAINTIFF INTERVENORS to unwelcome sexual comments and acts and permitting
   14   and encouraging a work environment in which PLAINTIFF INTERVENORS were subjected to
   15   ridicule, harassment, discrimination and intimidation because of their sex, unwelcome sexual
   16   advances, unwelcome sexual touching, comments, insults and degrading and humiliating conduct by
   17   DEFENDANTS’S employees.
   18          87.     PLAINTIFF INTERVENORS did not welcome the conduct described above and
   19   advised DEFENDANTS that such conduct was not welcome.
   20          88.     DEFENDANTS’S aforesaid acts of harassment were wanton, willful and intentional,
   21   and were committed with malicious and reckless disregard for the rights and sensibilities of
   22   PLAINTIFF INTERVENORS.
   23          89.     DEFENDANTS participated in creating and maintaining a hostile work environment
   24   and failed to investigate, stop, or prevent the incidents of sexual harassment even after
   25   DEFENDANTS’S employees gave notice of such incidents.
   26          90.     As a direct and proximate result of the aforesaid harassment based on sex, PLAINTIFF
   27   INTERVENORS have sustained injury in the form of severe emotional distress, humiliation,
   28   embarrassment, physical injury and mental anguish, all to their damage in amounts to be established

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    1   at trial.
    2               91.    The harassment adversely affected the PLAINTIFF INTERVENORS’ psychological
    3   well-being.
    4               92.    The harassment unreasonably interfered with PLAINTIFF INTERVENORS work
    5   performance.
    6               93.    The harassment to which PLAINTIFF INTERVENORS were subjected to would
    7   affect the psychological well-being and unreasonably interfere with the work performance of a
    8   reasonable person of PLAINTIFF INTERVENORS’ sex.
    9               94.    Sexual harassment was sufficiently widespread, pervasive, and prevalent at the
   10   workplace of DEFENDANTS and at all times pertinent hereto to charge DEFENDANTS with
   11   constructive notice of it.
   12               95.    Prior to filing a charge with the EEOC, PLAINTIFF INTERVENORS ONE through
   13   FOUR and other female employees gave DEFENDANTS notice of sexual harassment.
   14               96.    DEFENDANTS failed to investigate PLAINTIFF INTERVENORS' and other female
   15   employees’ complaints.
   16               97.    DEFENDANTS failed to take adequate remedial action.
   17               98.    Following PLAINTIFF INTERVENORS' and other female employees’ complaints
   18   and the response of DEFENDANTS, the harassment of PLAINTIFF INTERVENORS continued.
   19               99.    DEFENDANTS had the power to alter or affect the terms and conditions of the
   20   employment of PLAINTIFF INTERVENORS by firing, transferring, altering their work schedule
   21   and/or evaluating their work performance and by discharging complained of sexual harassers.
   22               100.   DEFENDANTS’S employees that harassed PLAINTIFF INTERVENORS ONE
   23   through FOUR, and other employees, were acting within their scope of employment.
   24               101.   PLAINTIFF INTERVENORS sustained emotional suffering and injury attributable to
   25   the harassment.
   26               102.   DEFENDANTS acted with malice and with reckless indifference to PLAINTIFF
   27   INTERVENORS' civil rights and emotional and physical well-being.
   28               103.   WHEREFORE, PLAINTIFF INTERVENORS request relief as hereinafter provided.

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    1                               FOURTH CLAIM FOR RELIEF:
    2      HOSTILE WORK ENVIRONMENT SEXUAL HARASSMENT (CALIFORNIA
                          GOVERNMENT CODE § 12940(j))
    3
               104.    PLAINTIFF INTERVENOR TWO through FOUR hereby incorporate by reference
    4
        each and every allegation contained above of this complaint as though fully set forth herein.
    5
               105.    PLAINTIFF INTERVENORS are women. DEFENDANTS subjected them to
    6
        unwelcome sexual advances, unwelcome sexual touching, comments, insults and degrading and
    7
        humiliating conduct as described above and/or failed to take steps reasonably calculated to end the
    8
        sexual harassment of PLAINTIFF INTERVENORS.
    9
               106.    DEFENDANTS’S aforesaid unwelcome sexual comments and acts were so severe or
   10
        pervasive that they created a hostile work environment and adversely affected the terms and
   11
        conditions of PLAINTIFF INTERVENORS ' employment based on their sex, in violation of the Fair
   12
        Employment and Housing Act, Government Code §12940(j).
   13
               107.    DEFENDANTS’S aforesaid acts of harassment were wanton, willful and intentional,
   14
        and were committed with malicious and reckless disregard for the rights and sensibilities of
   15
        PLAINTIFF INTERVENORS.
   16
               108.    As a direct and proximate result of the aforesaid harassment based on sex, PLAINTIFF
   17
        INTERVENORS 's have sustained injuries in the form of severe emotional stress and the loss of
   18
        compensation, including but not limited to wages and other benefits that they otherwise would have
   19
        received.
   20
               109.    DEFENDANTS, acting individually and/or by and through their managing agents,
   21
        officers or directors, committed the acts herein alleged maliciously, fraudulently, and oppressively,
   22
        with the wrongful intention of injuring PLAINTIFF INTERVENORS, and acted with an improper
   23
        and evil motive amounting to malice, and in conscious disregard of PLAINTIFF INTERVENORS'
   24
        rights. Accordingly, PLAINTIFF INTERVENORS are entitled to recover punitive damages from
   25
        DEFENDANTS in an amount according to proof.
   26
               110.    PLAINTIFF INTERVENORS are entitled to recover attorneys' fees under
   27
        Government Code section 12940, et seq. or any other law providing for recovery of attorneys' fees.
   28

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    1          111.    WHEREFORE, PLAINTIFF INTERVENORS request relief as hereinafter provided.
    2                                   FIFTH CLAIM FOR RELIEF:
    3                                        RETALIATION
                   (Pursuant to Title VII of the Civil Rights Act of 1964, as amended)
    4
               112.    PLAINTIFF INTERVENORS incorporate by reference the allegations stated above.
    5
               113.    At all times relevant herein, PLAINTIFF INTERVENORS engaged in a protected
    6
        activity under Title VII of the Civil Rights Act of 1964, as amended, by complaining to
    7
        DEFENDANTS’S management about harassment, discriminating, and the persistent pattern of
    8
        unlawful sexual harassment and discrimination against female employees.
    9
               114.    At all times material hereto, DEFENDANTS owed PLAINTIFF INTERVENORS a
   10
        duty not to discriminate against them in the terms and conditions of their employment on the basis of
   11
        their opposition to practices prohibited by Title VII of the Civil Rights Act of 1964, 42 U.S.C.
   12
        32000e-3(a).
   13
               115.    In violation of the aforesaid duty, DEFENDANTS took adverse actions against
   14
        PLAINTIFF INTERVENORS because of their protected activity of complaining about the
   15
        harassment and discrimination against them, as described herein.
   16
               116.    During     the   course   of    PLAINTIFF     INTERVENORS’         employment     with
   17
        DEFENDANTS, PLAINTIFF INTERVENORS complained to DEFENDANTS about the unwanted
   18
        and   persistent   sexual   advances,    harassment,   and   discrimination     against   PLAINTIFF
   19
        INTERVENORS.         As     alleged   above,    DEFENDANTS         retaliated   against   PLAINTIFF
   20
        INTERVENORS for making these complaints by tolerating constant sexual harassment towards
   21
        PLAINTIFF INTERVENORS, and by threatening them.
   22
               117.    DEFENDANTS’S conduct as described above was willful, despicable, knowing, and
   23
        intentional; accordingly, PLAINTIFF INTERVENORS are entitled to an award of punitive and
   24
        exemplary damages in an amount according to proof.
   25
               118.    DEFENDANTS’S decisions to take the adverse actions against PLAINTIFF
   26
        INTERVENORS described herein were wanton, willful and intentional, and were committed with
   27
        malicious and reckless disregard for the rights and sensibilities of PLAINTIFF INTERVENORS.
   28

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    1          119.      As a direct and proximate result of the aforesaid discrimination based on protected
    2   activity, PLAINTIFF INTERVENORS sustained harm including severe emotional stress and the loss
    3   of compensation, including but not limited to wages and other benefits that they otherwise would
    4   have received.
    5          120.      As a proximate result of DEFENDANTS’ conduct, PLAINTIFF INTERVENORS
    6   have sustained and continue to sustain losses in earnings and continue to suffer humiliation,
    7   emotional distress, and mental and physical pain and anguish, all to their damage in a sum according
    8   to proof at trial. DEFENDANTS, acting individually and/or by and through their managing agents,
    9   officers or directors, committed the acts herein alleged maliciously, fraudulently, and oppressively,
   10   with the wrongful intention of injuring PLAINTIFF INTERVENORS, and acted with an improper
   11   and evil motive amounting to malice, and in conscious disregard of PLAINTIFF INTERVENORS'
   12   rights. Accordingly, PLAINTIFF INTERVENORS are entitled to recover punitive damages from
   13   DEFENDANTS in an amount according to proof.
   14          121.      PLAINTIFF INTERVENORS have retained the assistance of counsel to vindicate
   15   their legal rights and are entitled to recover attorney's fees under 42 U.S.C. 5 2000(e), el seq., Title
   16   VII of the Civil Rights Act of 1964 or any other law providing for recovery of attorneys' fees.
   17          122.      WHEREFORE, PLAINTIFF INTERVENORS request relief as hereinafter provided.
   18                                  SIXTH CLAIM FOR RELIEF:
   19           UNLAWFUL RETALIATION BASED ON PROTECTED ACTIVITY
                     (CALIFORNIA GOVERNMENT CODE §12940(h))
   20
               123.      PLAINTIFF INTERVENOR TWO through FOUR hereby incorporate by reference
   21
        the above allegations.
   22
               124.      At all times material hereto, DEFENDANTS owed PLAINTIFF INTERVENORS a
   23
        duty not to discriminate against them in the terms and conditions of their employment on the basis of
   24
        their opposition to practices prohibited by the Fair Employment and Housing Act, Government Code
   25
        Section §12900 et seq.
   26
               125.      In violation of the aforesaid duty, DEFENDANTS took adverse actions against
   27
        PLAINTIFF INTERVENORS because of their protected activity of complaining about the
   28

                                                          19
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    1   harassment and discrimination against them, as described herein.
    2          126.      DEFENDANTS’S decision to take the adverse actions against PLAINTIFF
    3   INTERVENORS described herein were wanton, willful and intentional, and committed with
    4   malicious and reckless disregard for the rights and sensibilities of PLAINTIFF INTERVENORS.
    5          127.      As a direct and proximate result of the aforesaid discrimination based on protected
    6   activity, PLAINTIFF INTERVENORS sustained harm including severe emotional stress and the loss
    7   of compensation, including but not limited to wages and other benefits that they otherwise would
    8   have received.
    9          128.      DEFENDANTS, acting individually and/or by and through their managing agents.
   10   officers or directors, committed the acts herein alleged maliciously, fraudulently, and oppressively,
   11   with the wrongful intention of injuring PLAINTIFF INTERVENORS, and acted with an improper
   12   and evil motive amounting to malice, and in conscious disregard of PLAINTIFF INTERVENORS'
   13   rights. Accordingly, PLAINTIFF INTERVENORS are entitled to recover punitive damages from
   14   DEFENDANTS in an amount according to proof.
   15          129.      PLAINTIFF INTERVENORS have retained the assistance of counsel to vindicate
   16   their legal rights and are entitled to recover attorneys' fees under Government Code section 12940, et
   17   seq., or any other law providing for recovery of attorneys' fees.
   18          130.      WHEREFORE, PLAINTIFF INTERVENORS request relief as hereinafter provided.
   19                                SEVENTH CLAIM FOR RELIEF:
   20           FAILURE TO PREVENT DISCRIMINATION AND HARASSMENT,
                      (CALIFORNIA GOVERNMENT CODE §12940(k))
   21
               131.      PLAINTIFF INTERVENOR TWO through FOUR hereby incorporate by reference
   22
        each and every allegation contained above.
   23
               132.      DEFENDANTS and/or their agents and/or employees, failed to take all reasonable
   24
        steps necessary to prevent the harassment and discrimination in employment described herein from
   25
        occurring. DEFENDANTS knew or should have known of the discrimination against PLAINTIFF
   26
        INTERVENORS described above, yet failed to conduct an adequate investigation into the nature and
   27
        substance of the discrimination and tailed to take immediate and appropriate corrective action so as
   28

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    1   to discipline any of the offenders.
    2           133.    The response of DEFENDANTS, and/or that of their agents and employees, to the
    3   discrimination and harassment described herein was so inadequate as to establish a deliberate
    4   indifference to, or tacit authorization of, the alleged offensive practices, and an affirmative causal
    5   link existed between DEFENDANTS’S inaction and the injuries suffered by PLAINTIFF
    6   INTERVENORS.
    7           134.    By failing to take all reasonable steps necessary to prevent discrimination and
    8   harassment, and by failing to properly investigate and remedy the discrimination and harassment that
    9   occurred, DEFENDANTS committed unlawful employment practices as described in and prohibited
   10   by California Government Code §12940(k).
   11           135.    In engaging in the aforementioned conduct, DEFENDANTS aided, abetted, incited,
   12   compelled, and/or coerced unlawful employment practices in violation of the announced policy of
   13   this State against such practices.
   14           136.    As a direct and foreseeable result of the aforesaid acts of said DEFENDANTS,
   15   PLAINTIFF INTERVENORS have lost and will continue to lose income and benefits in an amount
   16   to be proven at the time of trial. PLAINTIFF INTERVENORS claim such amount as damages
   17   together with pre-judgment interest pursuant to Civil Code section 3287 and/or any other provision
   18   of law providing for pre-judgment interest.
   19           137.    As a result of the aforesaid acts of DEFENDANTS, PLAINTIFF INTERVENORS
   20   claim general damages for mental and severe emotional distress and aggravation in an amount to be
   21   proven at the time of trial.
   22           138.    DEFENDANTS, acting individually and/or by and through their managing agents.
   23   officers or directors, committed the acts herein alleged maliciously, fraudulently, and oppressively,
   24   with the wrongful intention of injuring PLAINTIFF INTERVENORS, and acted with an improper
   25   and evil motive amounting to malice, and in conscious disregard of PLAINTIFF INTERVENORS’
   26   rights. Accordingly, PLAINTIFF INTERVENORS are entitled to recover punitive damages from
   27   DEFENDANTS in an amount according to proof.
   28           139.    PLAINTIFF INTERVENORS are entitled to recover attorneys' fees under California

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    1   Government Code §12940, el seq., or any other law providing for recovery of attorneys' fees.
    2          140.   WHEREFORE, PLAINTIFF INTERVENORS request relief as hereinafter provided.
    3                                     PRAYER FOR RELIEF
    4          141.   WHEREFORE, PLAINTIFF INTERVENORS respectfully pray that this Court:
    5                     a. Award PLAINTIFF INTERVENORS compensatory damages
    6                          including lost wages and benefits according to proof;
    7                     b. Award PLAINTIFF INTERVENORS mental and emotional distress
    8                          damages for their emotional suffering and related medical and
    9                          therapeutic expenses according to proof;
   10                     c. Award PLAINTIFF INTERVENORS civil penalties as provided by
   11                          statute;
   12                     d. Award PLAINTIFF INTERVENORS punitive and exemplary
   13                          damages according to proof;
   14                     e. Award PLAINTIFF INTERVENORS attorney fees and costs,
   15                          including expert witness fees, pursuant to 42 U.S.C. §2000e-5(k);
   16                     f. Award PLAINTIFF INTERVENORS prejudgment interest on all
   17                          amounts claimed and award PLAINTIFF INTERVENORS any
   18                          other relief that this Court may deem proper;
   19                     g.   All damages which individual PLAINTIFF INTERVENORS have
   20                          sustained as a result of DEFENDANTS’ conduct, including: general
   21                          and special damages for lost compensation and job benefits that they
   22                          would have received but for the discriminatory practices of
   23                          DEFENDANTS, damages for emotional distress and punitive
   24                          damages, in amounts according to proof;
   25                     h. A declaratory judgment that the practices complained of in this
   26                          complaint are unlawful and violate Title VII of the Civil Rights Act
   27                          of 1964, 42 U.S.C. 5 2000(e), el seq.,            the California Fair
   28                          Employment and Housing Act, California Government Code

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    1                         §§12940 et seq. (“FEHA”) and other California statutory and
    2                         common laws alleged herein;
    3                     i. Grant a permanent injunction enjoining DEFENDANTS, their
    4                         officers, successors, assigns, and all persons in active concert or
    5                         participation with it, from engaging in sexual harassment,
    6                         retaliation, and any other employment practice which discriminates
    7                         on the basis of sex;
    8                     j. Order DEFENDANTS to institute and carry out policies, practices,
    9                         and programs which provide equal employment opportunities for
   10                         women, and which eradicate the effects of its past and present
   11                         unlawful employment practices;
   12                     k. Order         DEFENDANTS        to    make    whole     PLAINTIFF
   13                         INTERVENORS to be determined at trial, and other affirmative
   14                         relief necessary to eradicate the effects of its unlawful employment
   15                         practices;
   16                     l. Order         DEFENDANTS        to    make    whole     PLAINTIFF
   17                         INTERVENORS by providing compensation for past and future
   18                         non-pecuniary losses resulting from the unlawful practices
   19                         complained of above, in amounts to be determined at trial;
   20                     m. Order DEFENDANTS to pay PLAINTIFF INTERVENORS
   21                         punitive and exemplary damages for its malicious and reckless
   22                         conduct described above, in amounts to be determined at trial;
   23                     n. Grant such other and further legal and equitable relief as this Court
   24                         deems necessary, just, and proper.
   25                                      DEMAND FOR JURY TRIAL
   26          PLAINTIFF INTERVENORS hereby demand trial of their claims by jury to the extent
   27    authorized by law.
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                                                        23
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    1   Dated: November ___, 2022           MALLISON & MARTINEZ
    2

    3                                       By:
                                                   Hector R. Martinez
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    5                                              Attorneys for PLAINTIFF INTERVENORS
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        COMPLAINT IN INTERVENTION                              Case No. 2:22-cv-06039-PA-RAO
